
720 S.E.2d 672 (2012)
DELHAIZE AMERICA, INC.
v.
David W. HOYLE, Secretary of Revenue of the State of North Carolina.
No. 330P11.
Supreme Court of North Carolina.
January 26, 2012.
James G. Exum, Jr., Greensboro, for Delhaize America, Inc.
Kay Linn Hobart, Special Deputy Attorney General, for Hoyle, David.
Reid L. Phillips, Greensboro, for Delhaize America, Inc.
Richard L. Wyatt, Jr., for Delhaize America, Inc.
Jasper Cummings, Jr., Durham, for Council on State Taxation.
Andrew Ellen, for North Carolina Retail Merchants, et al.
William G. Scoggin, Raleigh, for North Carolina Retail Merchants Association, et al.

ORDER
Upon consideration of the conditional petition filed on the 16th of August 2011 by Defendant in this matter for discretionary review prior to a determination by the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as Moot by order of the Court in conference, this the 26th of January 2012."
